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                                                                            U.S. DiSTRICT coun
                        IN THE UNITED STATES DIST Icii0l!~ DISTRICTOFTEXAS
                             NORTHERN DISTRICT OF TEXAS~___F_r_r_~E_·~_D__~
                                 FORT WORTH DIVISI N
                                                                              APR .. I 20m
ENTERTAINMENT MERCHANDISING                         §
TECHNOLOGY, L.L.C., ET AL.,                         §                   CLERK, u.s. DISTRICT COURT
                                                    §                     By ____   ~   _________
                                                                                    ))epllt~·
                Plaintiffs,                         §
                                                    §
VS.                                                 §    NO. 4:09-CV-187-A
                                                    §
ROBERT E. HOUCHIN,                                  §
                                                    §
                Defendant.                          §


                                      MEMORANDUM OPINION
                                              and
                                             ORDER

        Came on for consideration the motion of defendant, Robert E.

Houchin, for summary judgment as to all claims and causes of

action brought by plaintiffs, Entertainment Merchandising

Technology, L.L.C.             ("EMT"), Mark Olmstead ("Olmstead"), Johnney

R. Weaver ("Weaver"), Earl D. Morris ("Morris"), and Michael J.

Dietz ("Dietz")           (Olmstead, Weaver, Morris, and Dietz collectively

the "Individual Plaintiffs").                     Having considered the motion and

all related filings by the parties, the summary judgment record,

and applicable legal authorities, the court concludes that the

motion should be granted in part and denied in part.1




        IThe parties have filed various motions objecting to, or to strike, summary judgment evidence.
Rather than rule on the motions, the court will give the disputed evidence whatever weight it deserves.
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                                        I.

                             Plaintiffs' Claims

      This case is before the court as a declaratory judgment

action pursuant to 28 U.S.C.       §§    2201-2202, wherein the Individual

Plaintiffs seek a declaration that they are co-inventors and co-

owners of the invention the subject of United States Patent No.

7,316,614 B2    ("'614 Patent").        Plaintiffs also assert state law

causes of action for breach of contract, breach of fiduciary

duty, fraud, and conversion.           Plaintiffs seek exemplary damages,

attorney's fees, and forfeiture by defendant of all right, title,

and interest in the patented invention, and in whatever interest

defendant may have in EMT.

                                        II.

                       The Motion for Summary Judgment

      Defendant contends that summary judgment is proper on the

following grounds:       (1) summary judgment evidence negates the

elements of a claim for breach of contract, or there is legally

insufficient evidence of those elements, the breach of contract

claim is barred by limitations, and is barred by the statute of

frauds;   (2) summary judgment evidence negates the existence, or

there is legally insufficient evidence, of a confidential or

fiduciary duty, plaintiffs' damages for any alleged breach are

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not recoverable as a matter of law, and the breach of fiduciary

duty claim is barred by limitations;          (3) summary judgment

evidence establishes that defendant had no duty to disclose so as

to establish a claim of fraud, plaintiffs did not rely to their

detriment on any alleged misrepresentations or non-disclosures or

there is legally insufficient evidence of detrimental reliance,

and the fraud claim is barred by limitations and the statute of

frauds;   (4) summary judgment evidence negates the elements of

conversion or there is legally insufficient evidence of those

elements, and the conversion claim is barred by limitations;                (5)

plaintiffs cannot recover damages on their tort claims as a

matter of law; and (6) summary judgment is proper on plaintiffs'

declaratory judgment claim for co-ownership and co-inventorship

of the '614 Patent.

                                      III.

                             Undisputed Facts

      Although the parties appear to agree on very little

concerning the facts underlying plaintiffs' claims, the following

facts are undisputed in the summary judgment record:

      At some time between 2000 and 2002, defendant and some of

the Individual Plaintiffs began to work on a gaming system,

referred to by the Individual Plaintiffs as a "sweepstakes

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invention" and identified in the application for the '614 Patent

as a "Method and Apparatus for Conducting a Sweepstakes."               PIs.'

App. Vol. I, at 55; Def.'s App. Vol. II, at 204.             At some point

discussions ensued among the parties as to the formation of an

entity, EMT, that would have some involvement with the

sweepstakes invention.       On December 16, 2002, Olmstead filed

Articles of Organization with the Texas Secretary of State for

the formation of EMT.       On at least two occasions defendant signed

letters purportedly as a representative of EMT.             PIs.' App. Vol.

II at 339, 543.

        In June 2003, defendant contacted James Walton ("Walton"), a

patent attorney, concerning the filing of a patent application

for the sweepstakes invention.        Sometime later that month

defendant signed a letter of engagement with Walton; the

signature block is as follows:

        "Entertainment Merchandising Technologies


        By:   Robert E. Houchin, Manager."

PIs.' App. Vol. II, at 338.       Defendant signed on the designated

line.

        On or about November 4, 2003, Walton filed the application

for the '614 Patent, naming defendant as the sole inventor.               Some


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time in November 2003, Olmstead contacted Walton and informed him

that defendant was not the sole inventor of the invention which

was the subject of the patent application.                 Walton subsequently

prepared assignments for the Individual Plaintiffs, which they

signed, assigning any interest they might have in the invention,

the patent application, and in any patent that might issue, to

EMT.    Walton prepared a patent application assignment for

defendant, which he sent to defendant in December 2004.

Defendant never returned the assignment form to Walton.

       On January 11, 2005, defendant filed a substitute power of

attorney, revoking Walton's power of attorney and naming new

counsel.     On January 21, 2005, Walton filed a Request to Correct

Inventorship with the United States Patent Office, including with

the request separate Statement of Added Inventor forms signed by

Olmstead, Weaver, and Morris, and a Declaration for Patent

Application signed by the Individual Plaintiffs.                  When Walton

learned from the Patent Office that defendant had revoked his

power of attorney, he filed in May 2005 a Petition to Correct

Inventorship, which the Patent Office denied in March 2006.

       On January 8    f   2008, the Patent Office issued the '614

Patent, naming defendant and the Individual Plaintiffs as

inventors.    Defendant's attorney filed a request for correction,

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and on January 29, 2008, the Patent Office issued a Certificate

of Correction naming defendant as the sole inventor.

                                          IV.

                    Applicable Summary Judgment Principles

        A party is entitled to summary judgment on all or any part

of a claim as to which there is no genuine issue of material fact

and as to which the moving party is entitled to judgment as a

matter of law.      Fed. R. Civ. P. 56(c); Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247 (1986).           The moving party has the initial

burden of showing that there is no genuine issue of material

fact.      Anderson, 477 U.S. at 256.       The movant may discharge this

burden by pointing out the absence of evidence to support one or

more essential elements of the non-moving party's claim "since a

complete failure of proof concerning an essential element of the

nonmoving party's case necessarily renders all other facts

immaterial."      Celotex Corp. v. Catrett, 477 U.S. 317, 323-25

 (1986).     Once the moving party has carried its burden under Rule

56(c), the non-moving party must do more than merely show that

there is some metaphysical doubt as to the material facts.

Matsushita Elec. Indus. Co., Ltd. v. zenith Radio Corp., 475 U.S.

574, 586 (1986).       The party opposing the motion may not rest on

mere allegations or denials of pleading, but must set forth

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specific facts showing a genuine issue for trial.             Anderson, 477

U.S. at 248, 256.      To meet this burden, the nonmovant must

"identify specific evidence in the record, and [] articulate the

'precise manner' in which that evidence support[s]             [its]

claim[s]."     Forsyth v. Barr, 19 F.3d 1527, 1537 (5th Cir. 1994).

An issue is material only if its resolution could affect the

outcome of the action.       Anderson, 477 U.S. at 248.        Unsupported

allegations, conclusory in nature, are insufficient to defeat a

proper motion for summary judgment.             Simmons v. Lyons, 746 F.2d

265, 269 (5th Cir. 1984).

                                           V.

                                      Analysis

 A.   Breach of Contract Claim

      Defendant contends summary judgment is warranted as to

plaintiffs' breach of contract claim because the summary judgment

evidence demonstrates that no meeting of the minds occurred

between the parties as to a number of material terms of any

alleged agreement.      Defendant contends that where material

contract terms are left open for future negotiation, no binding

contract exists, citing T.O. Stanley Boot Co., Inc. v. Bank of El

Paso, 847 S.W.2d 218, 221 (Tex. 1992).




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        Defendant overlooks a more fundamental point, however.

"Under Texas law, the existence of a contract is generally a

matter of fact."       John G. Mahler Co. v. Klein Karoo

Landboukooperasie DPK, 1995 WL 371037 at *5 (5th Cir. June 5,

1995)    (citing Foreca, S.A. v. GRD Dev. Co., Inc., 758 S.W.2d 744,

746 (Tex. 1988)) i see also Scott v. Ingle Bros. Pac., Inc., 489

S.W.2d 554, 556-57 (Tex. 1972).           Here, the parties dispute

whether any contract or agreement ever existed, and defendant has

expressly denied the formation of any such agreement.                 Def.'s

App. Vol. I, at 4.      As a genuine issue of material fact exists

concerning whether any agreement existed, summary judgment is

denied as to the breach of contract claim.

        Defendant raised additional grounds on which he contends

summary judgment is warranted as to the breach of contract claim,

including damages, statute of limitations, and statute of frauds.

However, absent a determination as to the existence of any

agreement, the court finds issues of fact remain as to these

grounds as well, as each ground is based on disputed facts

related to certain alleged terms of the agreement.              See,~,


Mercer v. C.A. Roberts Co., 570 F.2d 1232, 1235-36 (5th Cir.

1978)    (In considering a statute of frauds defense, when

interpretation of an unwritten agreement depends on disputed

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facts,    the question of a "reasonable duration" for performance of

the agreement is "one of fact.").

 B.     Breach of Fiduciary Duty

        To prevail on their claim for       brea~h       of fiduciary duty

plaintiffs must establish (1) the existence of a fiduciary

relationship between the plaintiffs and defendant;                 (2) a breach

by the defendant of his fiduciary duty to the plaintiffs; and (3)

the defendant's breach resulted in injury to the plaintiffs or

benefit to the defendant.       Navigant Consulting, Inc. v.

Wilkinson, 508 F.3d 277, 283          (5th Cir. 2007).       Texas recognizes

both formal and informal fiduciary relationships.                  Formal

relationships are those for which fiduciary duties are owed as a

matter of law, including the relationship between attorney and

client, partners, in trustee relationships, or between directors

of a corporation and the corporation and its stockholders.                    Id.;

Ins. Co. of N. Am. v. Morris, 981 S.W.2d 667, 674 (Tex. 1998);

Dunagan v. Bushey, 263 S.W.2d 148, 152 (Tex. 1953).

        "An informal relationship may give rise to a fiduciary duty

where one person trusts in and relies on another, whether the

relation is a moral, social, domestic, or purely personal one."

Schlumberger Tech. Corp. v. Swanson, 959 S.W.2d 171, 176 (Tex.

1997)    (internal citations omitted).         However, a fiduciary

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 relationship does not arise in every relationship involving a

 high degree of trust and confidence.           Id. at 176-77.      " [T] 0

 impose such a relationship in a business transaction, the

 relationship must exist prior to, and apart from, the agreement

 made the basis of the suit."         Id. at 177.

       Here, defendant contends, and plaintiffs do not dispute,

 that no relationship existed between the parties prior to or

 apart from the alleged underlying agreement as would give rise to

 a fiduciary duty based on an informal relationship.              Plaintiffs

 instead urge the court to find the existence of a fiduciary duty

 on two grounds:       (1) defendant's capacity as an officer of EMT,

 analogous to the fiduciary relationship between partners or

 corporate officers and shareholders; or,           (2) between he and the

 Individual Plaintiffs as co-inventors.

       As to their second ground, plaintiffs acknowledge that 35

 U.S.C.   §   262 does not establish a fiduciary relationship between

 co-inventors, and the court sees no reason to create such a duty

 out of thin air, especially in light of the Texas Supreme Court's

 caution not to "create a      [fiduciary] relationship lightly."             Id.

      As to plaintiffs' first ground, that a fiduciary duty

 existed by virtue of defendant's position as an officer of EMT,



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 Title 3 of the Texas Business Organizations Code, concerning

 limited liability companies, states:

        The company agreement of a limited liability company
        may expand or restrict any duties, including fiduciary
        duties, and related liabilities that a member, manager,
        officer, or other person has to the company or to a
        member or manager of the company.

 Tex. Bus. Orgs. Code Ann.      §   101.401 (Vernon Supp. 2009)        (emphasis

 added).    No Texas court has held that fiduciary duties exist

 between members of a limited liability company as a matter of

 law.    See,~,        Gadin v. Societe Captrade, 2009 WL 1704049 (S.D.

 Tex. June 17, 2009) i Suntech Processing Sys., L.L.C. v. Sun

 Comm., Inc., 2000 WL 1780236 (Tex. App.--Dallas 2000, pet.

 denied).    Whether such a fiduciary relationship exists is

 typically a question of fact.        Kaspar v. Thorne, 755 S.W.2d 151,

 155 (Tex. App.--Dallas 1988, no writ).

        Whether or not a fiduciary duty arose out of any position

 defendant may have held with EMT, the court agrees that the

 breach of fiduciary duty claim is barred by the four-year statute

 of limitations.       Tex. Civ. Prac. & Rem. Code      §   16.004(a) (5).

 Even where a person is owed a fiduciary duty,              "when the fact of

 misconduct becomes apparent it can no longer be ignored,

 regardless of the nature of the relationship."              S.V. v. R.V., 933

 S.W.2d I, 8 (Tex. 1996).      Defendant contends that plaintiffs knew

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 or should have known that he breached any alleged fiduciary duty

 when they discovered he filed the patent application naming

 himself as sole inventor on November 4, 2003, or by at least

 January 21, 2005, the date plaintiffs submitted a Petition to

 Correct Inventorship to the Patent Office with the blank

 assignment of interest form defendant failed or refused to sign.

         Here, plaintiffs do not specifically identify the act or

 acts of defendant that allegedly constitute a breach of fiduciary

 duty.     Plaintiffs do not dispute defendant's assertions as to the

 dates they knew or should have known he failed or refused to

 assign his interest in the patent application to EMT, or that

 they knew such a failure to act would have been a breach of any

 fiduciary duty owed to them.         Thus, to the extent plaintiffs

 contend defendant breached a fiduciary duty by naming himself as

 sole inventor on the patent application or by refusing or failing

 to sign the assignment, plaintiffs knew or should have known of

 those acts by January 21, 2005, at the latest.            To the extent

 plaintiffs contend the breach occurred when the corrected patent

 issued on January 29, 2008, the parties have directed the court

 to no summary judgment evidence showing that defendant was still

 a member, officer, or otherwise affiliated with EMT on that date.



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 It appears the opposite is true, as plaintiffs argue in their

 response:

       Had [defendant]    been President of EMT, Inc. and failed
       to transfer his    interest in the Patent to EMT, Inc.
       under the facts    and circumstances in this case, he
       would not [sic]    doubt have breached a fiduciary duty as
       of the issuance    of the patent on January 8, 2008.

 PIs.' Br. in Opp'n to Def.'s Mot. for Summ. J. at 25 (emphasis

 added).     No breach of fiduciary duty can arise when no

 relationship exists between the parties, as evidently was the

 case on January 29, 2008.      Thus, at the latest, it appears

 plaintiffs' claim of breach of fiduciary duty accrued on January

 21, 2005.     The instant claim for breach of fiduciary duty, filed

 March 30, 2009, is therefore barred by limitations.

 c.    Fraud

       Plaintiffs contend that defendant committed fraud both

 through the making of material misrepresentations of fact and by

 concealing material facts which he had a duty to disclose.                To

 prevail on a claim of fraud, plaintiffs must demonstrate, inter

 alia, that they relied to their detriment on a material

 misrepresentation made by defendant.          Johnson v. Brewer &

 Pritchard, P.C., 73 S.W.3d 193, 211 & n.45 (Tex. 2002)                (citing In

 re FirstMerit Bank, N.A., 52 S.W.3d 749, 758 (Tex. 2001)).



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         Defendant first contends that summary judgment is proper on

 the fraud by non-disclosure claim because a duty to disclose

 requires a confidential or fiduciary relationship.                As discussed

 supra, the court finds no summary judgment evidence of a

 confidential relationship.           However, the court concludes that a

 genuine issue of material fact remains concerning whether

 defendant was in a fiduciary relationship with plaintiffs at the

 time any alleged misrepresentations were made.               Plaintiffs have

 presented evidence that at some times, at least, defendant held

 himself out as a representative of EMT.              Pls.' App. II, at 339,

 543.    As discussed supra, whether defendant in such a capacity

 owed any fiduciary duty to any of the plaintiffs is a question of

 fact.     Kaspar, 755 S.W.2d at 155.

         Nevertheless, summary judgment is still proper on

 plaintiffs' fraud claim because they have failed to demonstrate

 detrimental reliance.        Proof of reliance is required as to both

 common law fraud and fraud by non-disclosure.               See Morris, 981

 S.W.2d at 674    (discussing elements of fraud for material

 misrepresentation or non-disclosure) i Bradford v. Vento, 48

 S.W.3d 749, 754       (Tex. 2001).    Defendant contends that the only

 act of reliance alleged by plaintiffs is the transfer of their

 ownership interests in the patent application or patent, if

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 issued, to EMT.2           According to defendant, this act of reliance

 fails to show any detriment to the Individual Plaintiffs, as they

 at any time could cause EMT to assign the rights back to them.

         In their response, plaintiffs argue at length regarding the

 various misrepresentations allegedly made by defendant.                                   However,

 they neither dispute defendant's characterization of their

 alleged reliance, nor do they offer summary judgment evidence of

 any other act of reliance by them on any of defendant's alleged

 misrepresentations.              Absent any evidence of detrimental reliance,

 summary judgment is warranted as to plaintiffs' claim of fraud.

 D.      Conversion

         Under Texas law, conversion is the "unauthorized and

 wrongful assumption and exercise of dominion and control over the

 personal property of another to the exclusion of, or inconsistent

 with, the owner's rights."                  Khorshid, Inc. v. Christian, 257

 S.W.3d 748, 758-59 (Tex. App.--Dallas 2008, pet. overruled)

 (citing Waisath v. Lack's Stores, Inc., 474 S.W.2d 444, 447 (Tex.

 1971)).       No cause of action arises under Texas law for conversion

 of intellectual property rights.                       Carson v. Dynegy, Inc., 344

 F.3d 446, 456 (5th Cir. 2003)                   (citing Waisath, 474 S.W.2d at



        2Plaintiffs make no allegation as to any reliance by EMT on any alleged misrepresentation by
 defendant.

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 447)).3       Plaintiffs do not dispute that a patent is intellectual

 property, nor do they contend that defendant converted any

 intellectual property rights.                     Rather, plaintiffs contend

 defendant converted the royalties he received by licensing the

 use of the invention the subject of the '614 Patent.                                    This

 contention does not salvage plaintiffs' conversion claim.

         The claim for unpaid royalties is a claim for the payment of

 money owed.          Under Texas law, an action for conversion of money

 arises only where the money can be identified as a specific

 chattel, meaning it is "(1) delivered for safekeeping;                                    (2)

 intended to be kept segregated;                      (3) substantially in the form in

 which it is received or an intact fund; and (4) not the subject

 of a title claim by the keeper."                        In re TXNB Internal Case, 483

 F.3d 292, 308 (5th Cir. 2007)                    (citing Edlund v. Bounds, 842

 S.W.2d 719, 727 (Tex. App.--Dallas 1992, writ denied)).

 Plaintiffs have neither alleged nor offered summary judgment

 evidence to show their claim of conversion for unpaid royalties

 is of the kind that is actionable under Texas law, and summary

 judgment is warranted as to this claim.



          3 A possible exception exists where an underlying intangible property right has been merged into

 a document, and that document has subsequently been converted by the defendant. Express One Int'l.,
 Inc. v. Steinbeck, 53 S.W.3d 895, 901 (Tex. App.--Dallas 2001, no pet.). Plaintiffs do not contend that
 defendant converted a document.

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 E.    Declaratory Judgment

       Defendant contends he is entitled to summary judgment on

 plaintiffs' claim for declaratory judgment that they are co-

 inventors and co-owners of the invention the subject of the

 patent.    The court finds genuine issues of material fact preclude

 summary judgment as to this claim.

                                      VI.

                                      Order

       Therefore,

       For the reasons stated herein,

       The court ORDERS that defendant's motion for summary

 judgment be, and is hereby, granted as to plaintiffs' claims of

 breach of fiduciary duty, fraud, and conversion and that the

 motion be, and is hereby, denied as to all other claims.

       The court further ORDERS that plaintiffs' claims for breach

 of fiduciary duty, fraud, and conversion be, and are hereby,

 dismissed with prejudice.

       SIGNED April I, 2010.




                                                       Distric




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